Case 2:02-cr-20293-SH|\/| Document 18 Filed 06/30/05 Page`lofB Page|D 16

 

PROB. 12
(Rev. 3/88)
UNITED STATES DISTRICT COURT ;F"_ED BY mw D_c_
for
05 JUN 30 PH 2= he
WESTERN DISTRICT OF TENNESSEE
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we cr ames
U.s.A. vs.MMln D°°k‘*‘ N°' M""l

Petition on Probation and Supervised Release

COMES NOW CHRISTY J. HENSON PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Latoga Yvette Smith Who was placed on supervision by the
Honorable Samuel H. Mays, Jr. , sitting in the Court at MemDhis. TN on the 25th day of November L)_O_Z Who lixed
the period of supervision at one § 1 ) year*, and imposed the general terms and conditions theretofore adopted by the
Court and also imposed Special Conditions and terms as follows:

 

* Term of Supervised Release Began July 19, 2004
RESPECTFULLY PRESEN'I`ING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(PLEASE SEE A'I`TACHED)
Page 2

PRAYING THAT THE COURT WILL ORDER a WARRANT be issued for Latorya Yvette Srnith to appear
before the Court to answer charges of violation of Supervised Release.

BOND:

 

ORDER OF COURT l declare under penalty of perjury that the
%\ foregoing is true and correct.
Considered and ,¢)rdered this 39 day

of *~*"*, 20 ° 5 , and ordered filed and likech `_
made a part of the ?rds in the above case. on M/ z 77 w&\j \
' /

\I_’jbation Officer

United States District Judge
nhis, TN

 
  

 

 

This document entered on the docket sheet in comp|ia ce

with nme 55 and/or 32(&)) FRch on (Q# §O 'O

Case 2:02-cr-20293-SH|\/| Document 18 Filed 06/30/05 Page 2 ot 5 Page|D 17

PROB 12

SMITI-I, Latorya Yvette
Docket No.2:02CR20293-01
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITION OF SUPERVISED RELEASE:
The defendant shall not commit another federal, state, or local crime.

On June 10, 2005, Latorya Yvette Srnith was arrested and charged for Theft $10,000.00 to $60,000.00. The
Affidavit of Complaint stated, Ms. Smith, While employed With Farnily Dollar at 3338 Austin Peay, Memphis, TN
failed to scan the merchandise of acquaintances who were in the checkout line. Ms. Smith then allowed the
acquaintances to leave the store without paying for the merchandise Ms. Smith admitted to investigators she
caused Family Dollar to loose merchandise totaling anywhere from $10,000.00 - $12,000.00 over a six (6) month
period Ms. Smith signed a letter admitting her participation in the theft. Ms. Smith is in custody and set for Court
in General Session Division 12 on July ll, 2005.

Case 2:02-cr-20293-SH|\/| Document 18 Filed 06/30/05 Page 3 ot 5 Page|D 18
VIOLATION WORKSHEET

 

 

 

 

l. Defendant LATORYA YVETTE SMITH ( 620 Hailev Road. MernDhis . TN 38134}
2. Docket Number (Year-Sequence~Defendant No.) 2:02CR20293-0]
3. District/Oftice Western District of Tennessee §Memphis)
4. On`ginai Sentence Date l l 25 02
month day year

(Ifdijfkrem than above):

5. Original District/Ottice

 

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {Y§ §7Bl.l }:

 

 

 

 

 

Violation f s } Grade
New criminal conduct: Theft $10, 000.00 ~ $60,000.00 B
8. Most Serious Grade of Violation (Y§ §7Bl.l(b} B
9. Criminal History Category U §7B1.4(a))?4 l

lO. Range of imprisonment (B §7Bl.4(a) || 4 - 10 months

Statutory Maximum: One (l) Year

 

 

1 1. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{X } (a) l f the minimum term of imprisonment determined under §'IBI .4(Tenn of lmprisonment) is at least one month
but not more than six months, §7B l .3(c) (l) provides sentencing options to imprisonment

{ } (b) lf the minimum term of imprisonment determined under §'FBI .4(Term of Imprisonment) is more than six months but
not more than ten months, §7Bl .3(c) (2) provides sentencing options to imprisonment

{ } (c) if the minimum tenn of imprisonment determined under §7Bl .4(Tenn of Imprisonment) is more than ten months, no

sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenne, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

Case 2:02-cr-20293-SH|\/| Document 18 Filed 06/30/05 Page 4 ot 5 Page|D 19
l)efendant LATORYA YVETTE SMlTH

 

12. Unsatist`ied Conditions of Origina| Sentence

List any restitution, fine, community confinement home detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {s_e§ §7Bl .3(d)}:

 

 

 

 

 

 

Restitution ($) N/A Community Continement N!A
Fine ($) N/A Home Detention N/A
Other N/A lntennittent Continement N/A
13. Supervised Release

lf probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§SD l . 1-1.3 { §_e§

§§7Bl .3(g)(l )}.

Term: N/A to N/A years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {§e_e lS U.S.C. §3583(e) and §7Bl.3(g)(2)}.
Period of supervised release to be served following release ti‘om imprisonment 0

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

15. Ol`t'iciai Detention Adjustment {ge£ §7Bl.3(e)}: months days

 

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:02-CR-20293 was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

